Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 1 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 2 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 3 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 4 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 5 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 6 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 7 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 8 of 9
Case:20-02518-EAG13 Doc#:36 Filed:04/07/21 Entered:04/07/21 13:59:07   Desc: Main
                           Document Page 9 of 9
